          Case 1:20-cv-08899-CM Document 61 Filed 02/15/21 Page 1 of 2




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February 15, 2021

Via ECF
The Honorable Colleen McMahon
Chief Judge of the Southern District of New York
United States District Court
500 Pearl Street
New York, New York 10007
                                      RE: Clementine et al v. Andrew M. Cuomo et al
                                            1:20-cv-08899

Dear Judge McMahon:


       I would respectfully request that Your Honor direct a hearing date for the above

mentioned matter as soon as practicable for this Honorable Court. As the State takes time and

consults with co-counsel for availability, my clients continue to suffer tremendous hardship as a

result of being shut down now for almost a year. My availability is extremely flexible except for

March 3 and March 10.

       Plaintiffs and I are looking forward to these arguments and we are ready to discuss the

levels of scrutiny that can be applied. My clients have moved mountains to make their small

theaters safe. At the bare minimum, there is no justification in science or data which allows SNL

to have weekly live shows while my clients remain shut down.

       I thank Your Honor for your kind attention and consideration.
Case 1:20-cv-08899-CM Document 61 Filed 02/15/21 Page 2 of 2




                     Respectfully yours,

                     /s/ James G. Mermigis

                     James G. Mermigis, Esq.
